Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 1 of 12



                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                              CASE NO: 15-CR-20362

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  FREDY MORENO-BELTRAN,

       Defendant.
  ______________________________/

             DEFENDANT, FREDY MORENO-BELTRAN’S,
        MOTION FOR DOWNWARD DEPARTURE/VARIANCE WITH
           MEMORANDUM OF LAW IN AID OF SENTENCING

        COMES NOW, the Defendant, FREDY MORENO-BELTRAN, by and

  through his undersigned attorney, and hereby submits the following Motion for

  Downward Departure/Variance with Memorandum of Law in Aid of Sentencing.

  It is anticipated that the Government will file a 5K1.1 motion at sentencing

  because the Defendant assisted and cooperated, in a substantial manner, with law

  enforcement authorities since July 2012 during the investigation and prosecution of

  others involved in this conspiracy and fraud against the Export Import Bank of the

  United states (“Ex-Im Bank”).

        As such, it is respectfully requested that this Honorable Court impose a

  sentence that does not exceed more than one year and one day of incarceration.
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 2 of 12



         This recommended sentence complies with 18 U.S.C. § 3553(a), U.S. v.

  Booker, 543 U.S. 220 (2005). Moreover, the recommended sentence recognizes,

  as the majority of justices of the United States Supreme Court did in Gall v. U.S.,

  552 U.S. 38 (2007), that a term of supervised release/probation is a “substantial

  restriction of freedom” and upheld a sentence of 36 months probation - - as

  reasonable - - even though co-defendants received sentences ranging from 30 to 35

  months imprisonment1. In short, the recommended sentence “is sufficient, but not

  greater than necessary” to achieve the objectives of sentencing because it takes

  into consideration the totality of the circumstances of the crime, his substantial

  cooperation with law enforcement and all other relevant factors concerning Fredy

  Moreno-Beltran the person.

                       DEFENSE RECOMMENDED SENTENCE

         The appropriate sentence that would accomplish the goals of sentencing and

  take into consideration the totality of the circumstances, including his cooperation,

  the nature and severity of the crime, Fredy’s character and lack of any criminal

  history, is the following sentence:

           No more than 12 months (one year) and one day incarceration


  1
    Co-Defendant, Ricardo Beato was sentenced by Judge Gayles to one year and one day
  incarceration on September 25, 2015. See DE 25 for case No.: 15-Cr-20041-Gayles; USA v.
  Ricardo Beato. On August 24th, 2015, Judge Ungaro sentenced Co-Defendant Jorge Amad to 24
  months incarceration. See DE 55 and 56 for case 15-CR-20045; USA v. Jorge R. Amad. It
  should be noted that the Government did not file a 5K motion and in Amad’s case, he only
  plead guilty after he discovered that Fredy was ready and willing to testify for the Government.


                                                 2
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 3 of 12



  It is recommended that no fine shall be imposed because Fredy does not have

  the ability to pay a fine as correctly noted at PSR 72. Restitution should be

  ordered by the Court in the amount $1, 951,643.01 to Ex-Im Bank unless the

  Government re-calculates or adjusts that amount.



                     FREDY MORENO BELTRAN - - THE PERSON

        The Presentence Report prepared by the Probation Officer, along with the

  letters from his family, friends, employees, former employers and others within his

  community, provide a complete picture of the 43 year old, father of two young

  boys and repentant man before the Court. (See letters in support and photos filed

  in this matter).

        It is an understatement to say that Fredy made a terrible choice when he

  falsified documents and helped others commit the crimes for which he has plead

  guilty and accepted responsibility. When we speak of Fredy, the person, we want

  to show the Court what is the make-up of this man, aside from the instant offense.

        Fredy was born in Bogota, Colombia on May 19th, 1972. He is 43 years old

  and has no criminal history. He has a very large and close family relationship with

  all of his siblings - - three other brothers - - his mother and father. He has never

  entered the United States accept recently, and voluntarily, to assist the authorities

  in this case. In 1993, when Fredy was 21 he met his common-law wife, Emilia.



                                           3
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 4 of 12



  Although they never formally got married, they have two handsome and loving

  boys - - now age 8, Jeronnimo and Jacobo, who is 5 years old. They live together

  and are considered a “family.”         The court should note that Fredy spends a lot of

  time with his sons and they are very much attached to him. (See family and friend

  letters as well as photos in support). Emilia not only looks after her sons while

  Fredy is working, but also gets up very early to make pastries to sale. She also

  assists Fredy with his work when she can and does the majority of the household

  chores2.

         Presently, Fredy is working very hard to earn a living and pay his bills. See

  PSR at page 13-14; paras 63 to 72. It is a constant struggle. He now has “three”

  jobs - - part time consultant work with telemarketing for the University of Del

  Tolima, marketing with his small company (Temeka SAS with 2 employees); and

  helping his “wife” make /sell pastries to a local store/bakery.              This third job is

  fairly recent. Despite his efforts and the combined efforts of his wife; his family

  barely earns enough to meet their monthly financial obligations. He tries to save

  money by renting a very small and Spartan house in the countryside - - just

  outside Bogota - -to cut back on rent. The sole family car is an is old (2006) Ford

  Escape, with a rebuilt transmission and it has numerous dents and scratches.

  Moreover, it is in constant need of mechanical repairs. Driving up and around the

  2
   The key point here, is even with Fredy’s help; she is swamped - - without him she is going to be
  devastated.


                                                 4
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 5 of 12



  mountains to get to the city is a challenging journey with this noisy car. When he is

  not working he spends time with his two boys or visiting his family that live in

  Bogota or near him in the countryside. Often, his long-time friends or family

  members come to visit him at his house.

        As a final note, here, Fredy has fully complied with law enforcement

  requests since his cooperation in 2012 and all pre-trial directives from probation

  and the Court. He has not violated any conditions of his release and has appeared

  in Court (from Bogota) when required by the Court or the Government. The Court

  should note that for the past 31/2 years while he has been cooperating he has been

  living with the fear and anguish of the unknown; not just for himself but more

  importantly for his family - - his wife and two young sons.

        Despite that psychological toll, Fredy has continued to cooperate in every

  respect and to do the best he can on a daily basis to provide for his wife and family.

  It is a very difficult challenge and situation. Furthermore, although he has a large

  family, they too are doing the best they can to sustain themselves. In short, Fredy

  Moreno is not well off and neither are his parents or siblings. Any period of

  incarceration will be a massive strain on his entire family. The biggest impact will

  be felt by his wife and two boys.




                                            5
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 6 of 12




                           ADVISORY GUIDELINE SENTENCE

                             Sentence Calculated in the PSR

        The PSR states that the Defendant scores a total offense level of 20 with a

  criminal history category of I or 33 to 41 months. That number is primarily driven

  by the loss amount that Fredy clearly derived very little benefit (16 points are

  attributed to the loss amount). In fact, he received the least amount of the proceeds

  as compared to other co-defendants.          That loss amount or GL overstates his

  culpability in this offense3.

        Moreover, the PSR did not consider that Fredy’s participation in the instant

  offense qualifies as a minor role especially in light of the new 2015 Amendments

  as applied to a Defendant’s Mitigating Role see §3B1.2. The USSC intended to

  “further broaden the availability of the mitigating role adjustment” because it

  found that it was used too “sparingly than the commission intended.”                   See

  Mitigating Role §3B1.2 2015 Amendments (effective November 1st, 2015). The

  USSC stated that “even if the defendant’s task was central to the crime, if his

  overall role was limited compared to the other participants, he still may receive the

  3
   The defense recommended sentence is also consistent with new trends in the 2015 Amendments
  to the Economic Crimes Guidelines that discusses “intended loss”. See US Sentencing
  Commission 2015 Amendments that took effect on November 1st, 2015 - -prior to the instant
  PSR.


                                              6
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 7 of 12



  adjustment.” USSG 3§B1.2 at Note 3. “The fact that a defendant performs an

  essential or indispensable role in the criminal activity is not determinative.” Id.

          Here, Fredy did not organize, lead, or even control the amounts of money or

  make the key decisions in this case – the others did. In fact, they distributed the

  “money” to him after they received it into their accounts and he received the least

  of any co-defendant. See Note 3 as to the non-exhaustive list of factors that apply

  to a determination for minor role. Fredy fits into 4 of the 5 listed factors (ii-v)that

  are provided. As such, the total offense level should be re-adjusted to 18 and not

  20.

          Again, at a total offense level of 18, as mentioned in Fredy’s objections

  (filed before the 2015 Amendments took effect), his GL range is 27-33 months.

  That amount should also be decreased when USSC 2§B1.1 Note 20(c), in light of

  the new intended loss 2015 Amendments, are also considered. To be sure, the

  court should adjust that number (18) with a variance as the majority of the points

  are driven solely by the loss amount.

          Finally, and most importantly, the PSR, however, does not take into

  consideration that the Government will most likely file a 5k1.1 motion seeking a

  departure from the guidelines based on the Defendant’s substantial assistance since

  2012.




                                             7
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 8 of 12



        Fredy respectfully requests that this Court grant the Government’s motion to

  depart from the advisory guidelines. Moreover, the defense asks the Court to give

  the maximum reduction possible because an entire case was resolved (USA v.

  Amad) without the need for trial or even pro-tracted litigation based on Fredy’s

  participation and cooperation. Indeed, the Court has already been informed by the

  Government that his cooperation has been outstanding.

        In this jurisdiction he Court must consider five factors pursuant to USSG

  5K1.1(a) when the Government files a 5K1.1 motion:

        (1)       the court’s evaluation of the significance and usefulness of the

                  Defendants     assistance,   taking     into    consideration   the

                  government’s evaluation;

        (2)       the truthfulness, completeness and reliability of any information

                  provided by the defendant;

        (3)       the nature and extent of the defendant’s assistance;

        (4)       any injury suffered or any danger or risk of injury to the

                  defendant or his family resulting from the assistance;

        (5)       the timeliness of the defendant’s assistance.

  See also U.S. v. Pippin, 903 F.2d 1478 (11th Cir. 1990), and U.S. v. Livesay, 525

  F.3d 1081, 1090-92 (11th Cir. 2008)(examining the reasonableness of the ultimate

  sentence in light of all factors including the USSG section 5 K1.1 factors and 18



                                          8
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 9 of 12



  USC section 3553(a)); c.f. U.S. v. Mangaroo, 504 F.3d 1350 (11th Cir.

  2007(reversing probation sentence where court failed to rely on any of these

  factors in sentencing the defendant far below the guidelines). It is clear that Fredy

  should receive a substantial departure based on his cooperation as previously

  discussed.



      Determination of sentence under 18 U.S.C. § 3553(a)’s Mandate to Impose a
            Sentence That is Sufficient, But Not Greater Than Necessary

          The United States Supreme Court’s decision in United States v. Booker, 125

  S.Ct. 738, 764-65 (2005), requires the district court to consider other factors, other

  than the advisory Sentencing Guidelines, before imposing a sentence. Indeed,

  now more than ever before, the Court has much more latitude in imposing a

  sentence “that is sufficient, but not greater than necessary” to comply with the

  purpose set forth in 18 U.S.C. § 3553(a). In determining the sentence minimally

  sufficient to comply with the purposes of sentencing4 the sentencing court shall

  consider - - “the nature and circumstance of the offense” and “the history and

  characteristics of the defendant”; “the kinds of sentences available”; all relevant

  4
   Four (4) purposes of sentencing are identified: (A) to reflect the seriousness of the offense, to
  promote respect for the law, and to provide just punishment for the offense; (B) to afford
  adequate deterrence to criminal conduct; (C) to protect the public from further crimes of the
  defendant; and (D) to provide the defendant with needed educational or vocational training,
  medical care, or other correctional treatment in the most effective manner. 18 U.S.C. §
  3553(a)(2).



                                                  9
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 10 of 12



   guidelines and policy statements issued by the Sentencing Commission; “the need

   to avoid unwarranted sentence disparities among defendants with similar records

   who have been found guilty of similar conduct; and the need to provide restitution

   to any victims of the offense.” 18 U.S.C. § 3553(a)(1), (3)-(7). Neither the statute

   itself nor Booker suggests that any one of these factors is to be given greater

   weight than any other factor. See Gall v. U.S., 552 US 38 (2007).

         When the Court considers the totality of the circumstances pursuant to 18

   USC §3553(a) here: (1) the fact that Fredy is not charged with a violent crime, (2)

   the fact that he was the first and very early on cooperated with authorities even

   though he was in Bogota, Colombia, and without an attorney, (3) the fact that he

   did not organize, manage, lead or profit as others did from the fraud, (4) the fact

   that he has had to deal with the mental anguish of an unknown “punishment” for

   over 4 years, (5) the fact that he has never been arrested before, (6) the fact that he

   has two young children and his “wife” that depend on him in every manner; and

   (7) the fact that there are no other real sentencing alternatives to Fredy because he

   is not a US citizen and he does not reside in the USA - - all weigh in favor of

   imposing a sentence that is not more than one year and a day.

         As such, a departure or variance should be made to reflect the 3553 factors

   for Fredy. The Court must also consider that Beato was sentence to one year and a

   day and Fredy has assisted the authorities for a much longer period of time.



                                             10
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 11 of 12




                                    CONCLUSION

         Indeed, if there was ever a case to impose a departure from the guidelines, as

   recommended by the defense here, this is the case. It is respectfully submitted that

   the appropriate sentence to accomplish the goals of sentencing would be a sentence

   that will incorporate punishment for not more than one year and one day

   incarceration.

         WHEREFORE, the Defendant, Fredy Moreno Beltran, respectfully submits

   this motion for downward departure/variance with sentencing memorandum and

   respectfully requests that this Court impose a sentence that is not greater than

   necessary and not more than one year and one day.




                                         Respectfully submitted,

                                         S. PATRICK DRAY, P.A.
                                         Courthouse Center
                                         40 NW Third Street
                                         Penthouse One
                                         Miami, FL 33128

                                         Tel: (305) 379-4501
                                         Fax: (786) 513-2244



                                           11
Case 1:15-cr-20362-KMW Document 40 Entered on FLSD Docket 01/27/2016 Page 12 of 12




                                          By: s/ S. Patrick Dray
                                          S. PATRICK DRAY
                                          FLORIDA BAR NO.: 0180157
                                          pat@patdray.com




                            CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on January 27th, 2016, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF. I also certify that

   the foregoing document is being served this day on all counsel of record or pro se

   parties, either by transmission of Notices of Electronic Filing generated by

   CM/ECF or in some other authorized manner for those counsel or parties who are

   not authorized to receive electronically Notices of Electronic Filing.




                                    By:    s/ S. Patrick Dray
                                           S. PATRICK DRAY, ESQUIRE




                                            12
